                                 Case 1:17-cv-01117-RP Document 139-3 Filed 09/07/22 Page 1 of 1


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           Case:             Good River Farms, LP v. Martin Marietta Materials, Inc Et Al
           Job #:            3527744 | Job Date: 9/20/2019 | Delivery: Normal
           Billing Atty: Travis J. Phillips
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